Case 3:09-cv-OO792-HLA-TEI\/| Document 14 Filed 02/28/08 Page 1 of 15 Page|D 442

UNITED STATES l)ISTRICT C()URT
FOR THE EASTERN l)ISTRI CT OF MICHI(}AN

FRANK AWDISI-I, ct al.,
Plaintil`l`:s_1

vs.

"l`] IE GiNN COMPANY, ei al.,
Del`endants.

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GINN ])EFENDANTS’ MOTI ()N F()R SANCTIONS

'I`hc Ginn Company_, Ginn Real Estate Company, l,LC, Ginn-La Wildemess Ltd., LI.-I,P,

Ginn-La Hammock Beach le., LLLP, Giml-La Or}ando., LLI_;I’, Ginn-Lzl Pine Island Ltd.__

lT]'."E]S\'[H

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LI,I.,P (thc "Ginn [)ct`cndants”). pursuant to I"cd. R. Civ. P. 1 l, tile this motion l`cr sanctions

against all Plainti[`l"s, thc law firm cf`Mckani, Orow_, Mckani, Shailal Hakjm & Hindo, P,C,, and

Jcscph Shalial. rI`hc (iinn I)cfcndants sought concurrence in accordance with Lccai Rl.llc

7.1(21)(1) and Plaintit`t`s did not consent to thc rclict` requested Pursunnt to ch. R. Civ. P.

ll(c)(]), the Ginn Det`cndants’ counsel served1 but did not i"lle, this motion on Plaintit`t"s

counscl.

Datcd: Septembcr 25, 2007

J?|')'Ii!ivf!li

fsi Jchn A. Lockctt Ili

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UNITED STA'I`ES DISTRICT COURT
F()R THE EASTERN ])IS'I`RIC'I` ()F MICHI(;AN

F`I{ANK AWDIS[I ij'i` AL_, Casc: 2:0?»<:\'-{2304
ch. l.awrcncc [’. Zat]<ot`t`
I’laintiffs,
V.
'1"111€ GINN C(_)MP/\NY,

Dcl`cndalnts.

THI+] GINN DEFENDANTS’ BRIEF IN SUPP()RT ()F THE M()TION FOR
SANCTIONS

]?l'.»`li§t\'t]i

f.».)

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lSSUlE PRESEN'I`EI)
l) Plaintil`i`s and their counsel lilcd a complaint which asserts claims and othcr lcgal contentions
tn"n-varrantcd by cxistin{_; law and that makes allegations totally lacking cvidci"ltiar}»r supnol't.
Accordingly, l’laintit`t`s and thcir counsel have Violated ch. R. Civ. P. ll and should bc

sanctioncd.

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CONTROLLING ()R M()ST API’R()PRIATE AUTIIORITY
l. Rct'nlircntcnts Go\»'el'nina Plcadina in Fedcral Coul't Gcncrallv:
l?cd. R. C_`iv. P. ll
B.'..'sine.s‘.‘.' (}`nicfe.s‘, inc v. (i'hroiimric (__`.onnn_ lz'n!ei'., 498 U,S. 553_. l ll S.Ct. 922_. llZ
li.lid. 1140 (1991)
lodch v. (.':`iy r;»/`S;.n'fngfie)’d. 109 l"`.Ed 288 (6th Cil'. 199?)

lindsey t‘. J.cmsonfe, 806 I~`.Supp. 65l (li.l). l\/lich. 1992)

L.h

[i'l'i:]S\'[ll

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SUMMARY

Plaintit`t`s arc one hundred and twenty-seven (12?) purchasers o't" real estate lots in I~`lorida
communities developed by the Ginn C.`.ompany and its affiliates Some oi` the Plaintil`l`s
purchased lots from the Ginn Det`endants, However, thirty-one (3]) l’laintii`FS did not purchase
lots t`rom any ot`the Ginn Dc't`endants.[ Rather, these Plaintit`fs purchased lots from third parities
who owned lots in Ginn developed communities

As was described in Y`he Gr`nn Defendanrs ’ Mo!r`on m Di._\'mr`s.s', each oi`Plaintift`s’ claims
against the Ginn [)et`cndants t`ail as a matter ol` law. Plaintit`t`s’ claims under the interstate hand
Salcs Full Disclosurc Act ("IIJSA"') tail because: (l}the disclosures Plaintil`i`s contend were not
made in their respective Property Reports are not required to be made under the lliS/\;2 and (2)
Plaintit`t`s have not plead, to any degree ol`particularity_, the circumstances ofthc fraud they
contend took place, Plaintit`l"s’ securities claims fail because, as has been the law ot` the sixth
circuit t`or almost thirty ycars, horizontal commonality is required before a financial arrangement
can bc considered a “‘security"' and l)laintit`i"s cannot demonstrate horizontal commonality.
l\/loreover, the Court ot`Appcals for the Sixth Circuit has specilically held that real estate lots
purchased from a developer for investment purposes are not securities Lastly, Plaintit`t`s have
asserted a RIC() claim based on Sceurities fraud and mail li'aud, having not purchased a single
security and without identifying a single piece of mail (or its sender or recipient) that contained

a misrcpresentation1 and without filing a RICO Casc Statement,

 

l The Plaintit`f`s who did not purchase lots t`rom the Ginn Det`endants, but who purchased lots that were owned by
third parties are as t`ollows: Laith Ayar; Raad Kashat; I'lanna Kashat; Raid Ayar; Brian Ya|doo; Salaam Bakl<al; Ramy
Scsi; lmad Jonna; .lalnilla Jonna; Kevin lappaya; Shawn Jappaya; Andew Najor; Bassam Murrad; Amir Nal`so; Sam
Orow; Rog,er l)enha; Robert Frankowiak; Frank Awdish; I"adi Hakim; Nancy E|ia; 'l`homas Atto; Petcr 'l`hoinas; Athir
Nafso; jimmy Rabban; Nabban Mel<ani; lulian luddua; A|bert Jonna. These 31 Plaintifis do not even have standing to
bring [LSA claims. 'I`his is yet another example ot` P|aintit`ts’ haphazard pleading

3 'I`his claim is particularly unfounded as it is evident t`roin simply reading the ll.S/\ that the disclosures Plaintiti`s
complain ol` not having been made apply only to Statements of Record. not l’roperty Reports.

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ln response to thc (i`t`nn Defendants Motr`on to Dt`snris.r, Plaintil`l`s made arguments and
advanced legal theories that were not part ofeither Plaintiffs" Amena'ed Conipfnint. See
P!.'crint{`/_‘j‘.i‘ ' Re.sy)r)n_s'e to the Gt`nn Defendants’ Mot.'iort to Dr`snrfss (“Plaintit"l`s’ Briet""), at 6
('alleging that Ginn Det`endants failed to execute a l)roperty chort receipt and that there is no
date appearing on such receipts).3 l\/toreover, not once in Plaintif't"s’ Briet`did Plaintiffs` make a
good t`aith argument for the cxtcnsion. modification or reversal of existing law. Accordingly._
Plaintiffs and their counsel have violated Fed. R. Civ, P. l l by filing a complaint that contains
unwarranted legal contentions and that is totally lacking in evidentiary support As such_, the
Ginn Det`endants respectfully request this Court to sanction Ptaintit"l`s and their counsel

ARGUMENT ANI) CITATION OF AUTH()RITY

A. Standard of Review

Fed. R. Civ. P. l l(h) provides that by filing a pleading, the submitting attorney is
certifying that to the best ot`the person’s knowledge, information or belicf_. formed after an
inquiry reasonable under the circumstances:

(l) the pleading is not being presented for any improper purposc, such as to harass
or cause unnecessary delays or needless increase in the cost oi`litigation;

(2) the claims, dci"cnses, and other legal contentions therein are warranted by
existing law or by a nonfrivolous argument for the extension_. modification, or
reversal o t` existing law or the establishment ofnew law;
(3) the allegations and other factual contentions have evidentiary support or, if
specifically so identitied, are likely to have evidentiary support after reasonable
opportunity for further investigation and discovery.

Sec lied. R. Civ. P, ll(b).

lf thc court determines that Ruie l l{_b) has been violatcd, the Court may impose sanctions on the

attorneys, law tirm, or parties that are responsible for the violation See Fed. R. Civ. P. ll{`c).

 

3 lt should be noted that neither ofthese allegations, even it`true, give rise to a private right of action under lLSA.
'l`his is just an example of Plaintiffs` counsel grasping at straws in an attempt to salvage a frivolous complaint

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Rule l l ensures that a party’s signature on a pleading certifies that the party has read the
pleading and that to the best ofthc party’s knowledge, the document is well grounded in fact and
warranted by existing case law. See Li`nalsey v. .)’rtnsonte, 806 F. Supp. 651, 655 (E.D. Mich.
1992) (Zatkoft`_1 j.). Rule l l imposes on a party who signs a pleading an affirmative duty to
make a reasonable inquiry into the facts and law before filina. See aniness Gni`des, fnc. v.
C`f/irorncttic Cornni. Enter.__ 498 U.S. 533_. 543, lll S.Ct. 922, 112 l_i.tid. l140 (1991). ln the
Sixth Circttit, the test for imposition ofRule l l sanctions is whether the attorney"s conduct was
reasonable under the circumstances See Ri`dder v. C."ty qfo'pri`ngfield, 109 l41 .3d 288, 293 (6th
Cir. 199'?). Rule l l applies to parties as well as their attorneys See Btisi'ne.s's Ga.=`a'es, 498 U.S.
at 548.

B. Plaintiffs` ILSA Claims Fail Because Plaintiffs Misunderstand the Act’s
chuirements and Bccause Plaintiffs Do Not Specify Their Fraud Allegations.

l'. Plainti/_‘j‘s nnsnnrt’erstand ILSA ’s disclosure requirements

l)laintit"fs have filed a claim under ll,SA without fully understanding that statute’s
requirements Plaintit`fs allege that their Property Reports omitted four matters of information
that they contend were required by law to be in the Propcrty Report:

(l) “the Propcrty Reports did not list tlie addresses of any lien holders on the

property”_;

(2) "'the l)roperty chorts did not contain a legal description ofthc property”;

(`3) L"the Property Reports did not contain a map ofthc property"_; and

(4) '“the Propeity Reports did not contain the range of prices for the property units".

[An'iended (.'oinploint, 11 175].

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Plaintift`s confuse the required disclosures for “Property Reports” with the required
disclosures for "‘Statenicnts of Record.” The ILSA makes two separate and distinct requirements
with respect to the sale ofland subject to the act. One is a filing with the Department of Housing
and t,lrban l)evelopment ("l-lUD”) denominated a ""Statement of Record."` Scparatcly, a
“"‘Property Report" is to bc given to purchasersl 'l`he four Property Report "omissions"` cited by
l)laintiffs are all taken from 15 U.S.C. § 1705 which lists the information required in a Statement
of Rccord. Sec 15 U.S.C. § 1?05{2) (legal description and map); 15 U.S.C. § 1?05(4) (range of
selling prices); 15 U.S.C. § 1?05(6) (information related to encumbranccs). llowever, it is 15
U.S.C.. § 1?0?(a) which establishes the content requirements for a Property Report. That statute
provides as follows:

A property report relating to the lots in a subdivision shall contain such n_}‘"riie

information contained in the statement of record, and any amendments thereto, us

the Secretury may deem ncu:,’es.s“u:j»'l but need not include the documents referred to

in paragraphs (?) throuin (l l), inclusive, of section 1?`05. A property report shall

also contain such other information as the Secretary may by rules or regulations

require as being necessary or appropriate in the public interest t`or the protection

of purchasers
15 l_l.S.C. § 1707(a) (emphasis added), Section 170?(a`) delegates to the HUD Secretary the
authority to determine what disclosures are to be made in a Property Report. These requirements
are found in regulations promulgated by the Secretary, 24 C,F,R. § 1?10.100-1?10.1 13.
Nowhere in these regulations is the information cited by Plaintift`s required to be included.
Plaintit`l`s and their counsel should have known this before they filed their complaint. Plaintifl`s’

counsel would have known this had they condticted the slightest bit of research into the ISLA.

!\ccordingly, l’laintiffs and their counsel should be sanctioned for filing this frivolous claim.

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2, Pfuinti`)_‘j‘s ’_fruucf allegations arefalse, reckless dual luck pcirticufurity

Even more egregious than Plaintiffs’ filing of an ILSA non-disclosure claim without
understanding the statute’s disclosure requirements Plaintiffs have asserted an lIsSA fraud
claim based on false and reckless allegations Plaintiffs claim that the lots they purchased had
“no value" and that they were victims ofa "‘Ponzi Schenie”. rI`hcsc allegations are brazenly t`alse.
'l`lic Ginn l)cfendants developed, and the Plaintit`fs purchased, some of the most valuable real
estate in Florida. The allegation that the lots were worthless is absurd. Furtliennoi'e, these
Pla_intit`fs received exactly what they paid for -- fee simple title to land. The fact that Plaintil`l`s
claim to be investors who leveraged themselves into L"hot” market and ran into a ‘“cool” market
does not make Plainti'l"fs the victim of a Ponzi Schcme. rl`his argument is entirely frivolous

With respect to any other fraud claims alleged by Plaintiffs_. they fail for lack of
particularity Rulc 9(b) requires a plaintiff asserting a fraud claim to allege, ut u niim`uu.un: (1)
the time of the alleged misrepresentation; (2) the place ofthe misrepresentation; (3) the content
of the misrepresentation; (4) the fraudulent scheme; (5) the fraudulent intent of the defendants;
and (6) the injury resulting from the fraud. See quj"ey v. Focunex, LP__ 2 F.Bd 15';'_1 161-62 (6th
Cir. 1993); Michuels Buir'di`ng Co. v. Aiueritrr-ist C.`o., 848 F.2d 6?4, 6'?9 (6th Cir. 1983).41
Plaintil`fs have not {`and cannot) alleged any of these facts because there is no evidentiary support
for l’laintit`fs` allegations Plaintiffs_. and their counsel, are aware ofthc lack of evidentiary
support for their claims and attempt to disguise their lack of evidence through vague pleading

/\s sucli__ l’laintiffs and their counsel have violated Rule l l and should be sanctioned

 

" As the clear language of Rule 9th indicates thc heightened pleading requirement applies to all averments

involving fraud made in federal court (including ISLA clairns), not solely to claims ofcomnion law fraud See Ronil_)ucli
v. (.‘liung, 355 1~`.3d |64, l?| (2nd Cir. 2004) (applying 9(b)’s pleading requirement to claim of securities fraud};
.S`under.mn v. H(.`A-?`lic Heuttlicru'e Co.\ 4')'7 F_3d 3?3. 3?? (61|1 Cir. 2005) {app|ying Ru|e 9(b) to l`~`alse C|aim Act claim
alleging fraud); Bende)' v, iS‘oiuli.-’umle"orp.. ?49 F.2d 1205, 1216 {Gth Cir. 1934) (applying 9(b) to RlCO claim alleging
predicate crime involving fraud).

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C. Plaintif`fs Have Not Purchased Securities

Plainti'l`t`s allege that their respective contracts for the purchase of lots are "invcstmcnt
contracts” within the meaning of Securitics and I;`xchange Actof1934. See Amended
Complaint, 1[ 191-92. Based on these allegations_, Plaintit`fs assert three securities claims: (l)
Count III: selling unregistered securities in violation of 15 U.S,C, § Fi'S(e); (2) Count IV: false
representations under the Sectirities Exehange Act of l934; and (3) Count V: “l)onzi Scheme” in
violation ol`Section lU(b)-S of the Securities Exehange Act. For nearly thirty-years, the Sixth
Cireuit has required a showing of horizontal commonality among investors before investments
can bc considered securities See Urii`oii Plo'nters Nrii. Brrrik of`Memphis v_ (_.`omniei'eirii’ (_..`reo’i`i
Biisi`nes.s‘ Loaris, ]ric., 651 li`.?.d 1174,l183 (Gth Cir. 1981); Curr'cm v. Merri`lf liyncf/i, Pt`ei't"e,
Feiiriei' ancil$inith, lirc., 622 l".2d 216, 222 (6th Cir. 1980), offer orr other gronmi's, 456 U.S. 353.
72 l.. Ed. 182, 102 S. Ct. 1825 (1982)_; Deci'chrick i»'. Lri l/t`i:'i.'cr (.'hoi'£ei'.r, luc,_. 867 F.2d 2?3_. 283
(6th Cir. 1989). Plaintiffs have made no such showing ln a case directly on point_, the Sixth
Circuit has specifically held that the purchase of real estate lots for investment purposes from a
developer are not securities See H.cii‘{ v. Pi,ih‘e Ht)nies Qf`Miehigan C.`orp., 735 I~`.Zd 1001 ('6th
Cir. 1984) fholding that real estate lots purchased as investments from a developer were not
securities due to lack o'l` horizontal coinmonality). Had Plaintiffs’ counsel bothered to research
the law ofthis circuit prior to liling suit, they would have discovered that l’laintit`t`s’ claim for
securities fraud fails because Pki.'t`ntiy_’jli' have riot purchased securities Accordingly, I’laintiffs
and their counsel have violated Rule l 1 and should be sanctioned

D. Plaintiffs’ RIC() Claim I)ocs Not Comply with ch. R. Civ. P. 9(b)

A plaintiff alleging RICO predicate crimes involving fraud must meet the heightened

pleading requirement ol`Fed. R. Civ. P. 9(b). See Ati'vocucy Org. for Pcii'r`eiits and Pi‘oi.’i`der.r v.

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Atc‘o (_.`i'i,il) lnc_ Ais'.s‘oc., 1?6 l".3d 315, 322 (6tl'1 Cir. 1999) (affirming trial court’s dismissal of
plaintiff’s RlCO claim for failure to plead predicate crimes of wire fraud and mail fraud with
particularity as required under lied R. Civ. P. ¥)(b)). “Rule 9(b) is especially important in a RICO
case where a defendant is charged with fraudulent conduct based on criminal activity and
threatened with treble damagcs," Dei’,oreeir r. C.`oi'k Guli'y, l 18 B.R. 932, 940 {E.D. i\/lich. 1990)
(Y..atkoff_. ‘l.); see also Chctrtrtincil v. C,liryslei‘ Cr)r;)., Fi"§§§ l".Supp. 666, 669 (F..D. l\/iich. 1992)
(Zatkol`l`, J.) {a RlC() claim based on fraud must comply with Fed. R. Civ. l’. Q(b)). rl`hc Sixth
Circuit requires a RICO plaintiff to allege, at a minimum, “thc time, place and content of the
alleged misrepresentation on which he or she rclied; thc fraudulent scheme; the fraudulent intent
ofthc defendants_; and the injury resulting from the fraud.” See Aa’voccrcy Organizcirion, 1?6
l".3d at 322.

Plaintifl`s’ RlCO claim fails because, despite alleging the predicate crimes of securities
fraud and mail l`raud: (l) Plaintiffs have not purchased a security; and (2) Plaintifl`s have not
identified a single piece of mail that Contained a fraudulent allegation_, the sender of any such
mail, or its recipient Plairitiffs have also failed to specify two predicate act crimes, as required
under RICO. See l/einco, lite v, (..`amt'irde[i'ti, 23 F.Eld 129, 133 (6th Cir. l994) {to prove a
pattern of racketeering activity so as to come within the RlCO statute a plaintiff must establish
two predicate acts of racketeering have taken place). Plaintiffs have also failed to tile a RICO
case statement as required by this Court. llad Plaintiffs’ counsel conducted any research into the
applicable pleading requirements for RICO claims in the Si)tth Circuit prior to filing this lawsuit,
Plaintiffs’ counsel would have seen that there was no evidentiary support for a RICO claini.
Undeterred, l’laintiffs` counsel filed the claim anyway. Accordingly_, Plaintiffs and their counsel

have violated l{ule l l and should be sanctionedl

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E. l’laintiffs Havc Madc Numerous Baseless and Incendiary Allegations
Aside from the legal infirmities in the Amended Complaint, Plaintil`l"s also make
numerous sensational, and completely false, allegations regarding Defendants. A few of these
allegations are set out below:
v That Ginn Real Estate Company was set up "`for the exclusive purpt)se" of
selling lots without complying the lSliA°s disclosure requirements See
Amended Complaint, 1| 132.
¢ 'l`hc home owners’ associations and golf clubs are “`another method"’ by
which Ginn obtains money from unsuspecting purchasers See id, 1[ i38.
¢ Ginn developed a “nitiltiple-tiel'ed pyramid marketing scheme." See i`til__ il
151.
0 l’laintiffs accuse Ginn of running a Pon'zi Scheme. See Amcndcd
Complaint___ il 154. Again, l’laintiffs employ hyperbole and buzz words in
the absence of substantive allegations5
¢ Ginn’s President._ Edward "‘Bobby"’ Ginn, is a member of the board of
directors of co-defendant Suntrust Bank. See id, 11 161. rl`his is a total
fabrication Bobby Ginn is not now___ nor has he ever been_. a member of the
board ofdircetors of Suntrust Banl<.
'l`hese totally baseless factual allegations, coupled with the assertion ol`elaims for which
there is no legal support, as well as Plaintiffs’ attempt tojoin the horne owners" association and

golt`elubs as defendants to this action so as to get out of paying their respective dues and

 

" l~`or an explanation of why the facts alleged by Plaintiffs. even iftrue, do not constitute a Ponzi Schemc. see ?`lie
(}`i`riii De rendering ' Motr`oi'i to Di`.\'tiifs.s', n. 6_

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assessments, arc all proof that Plaintiffs, and their eounsel_. brought this complaint in had faith.

As such_. Plaintiffs have violated Fed. R. Civ. P. l l and should be sanctioned

CONCLUSION

l?or all ot`the foregoing rcasons_. this Court should GRANT Det`endants’ motion and

award sanctions against Plaintiffs, Mekani, Orow._ Mekani, Shalall Hakim & Hindo, P.C.1 and

Joscph Shallal.

l)ated: Scptcmhcr 25, 2001

l?|'.’.`llllvll]

Respeetfully submitted,

rst .lohn A. l_,ocl<ett lll

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UNITED STATES DISTRICT COURT
F(}R TI-IE EASTERN DISTRICT OF MICHIGAN

l*`l{ANK AWl)lSll fill Al_i, Case: 2:0';"-<:\»'-12304
l-lon. l,awrence P. Zatkoll`
Plaintiffs_.
V.
rl`l iii GlNl\l COMPANY,

Defendants.

CERTIFICATE OF SERVICE

 

l. John A. Lockett lll_, hereby certify that on September 25, 200?, l caused to bc
electronically liled with the Eastern District oi`Michigan’s lel" rl`he Ginn Dcfendants’ l\/lotion
for Sanctions, which will send electronic notice to Joseph Shallal, .lonathan Walton, and Gregory

Thomas.

fsi Joliit A. Lockett Ill
.lohn A. liockctt lll

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